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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION

  UNITED STATES OF AMERICA,

        Plaintiff,                      CASE NO.: 19-20624-Cr-SINGHAL

        -vs-

  YUDEL GONZALEZ, et al.,

       Defendants.
  _____________________________/

       DEFENDANT’S OBJECTIONS AND CLARIFICATION TO THE
             PRESENTENCE INVESTIGATION REPORT

        COMES NOW the Defendant, YUDEL GONZALEZ, by and through his

  undersigned counsel, and files his Objections and Clarifications to the PreSentence

  Investigation OFFENSE CONDUCT & ROLE ASSESSMENT.

        1.     As to paragraphs eighteen (18) and twenty (20) at page seven (7) of

  the PSI, Mr. Gonzalez wants to clarify that he did not collect a fee for the checks

  cashed by the two individuals he recruited.

        2.     As to paragraph twenty-six (26) at page eight (8) of the PSI, Mr.

  Gonzalez never brought any health care prescriptions; he never recruited any

  health care patients; and he never received any kickback.

        3.     As to paragraph thirty-one (31) at page ten (10) of the PSI, Mr.

  Gonzalez knew that the monies came from some type of unlawful activity; and
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  objects to any role enhancement.

          4.   Mr. Gonzalez objects to paragraph thirty-six (36) at page eleven (11)

  of the PSI, wherein he is given a four (4) level enhancement for Specific Offense

  Characteristics pursuant to §2S1.1(b)(2)(C) for being in the business of laundering

  funds. Prior to his involvement in this case, Mr. Gonzalez had never engaged in

  money laundering. Additionally, prior to committing this crime, Mr. Gonzalez had

  never been involved in money laundering and he had never been arrested in his

  life.

          5.   Mr. Gonzalez objects to paragraph thirty-eight (38) at page eleven

  (11) of the PSI, wherein he is given a three (3) point enhancement for Role in the

  Offense pursuant to §3B1.1(b); and the PSI asserts that this enhancement applies

  because Mr. Gonzalez was a manager or supervisor and the offense involved five

  or more participants or was otherwise extensive. PSI ¶ 30.

          6.   In this case, Mr. Gonzalez did not claim or received a larger share of

  the fruits of the crime than either of the two individuals he recruited to cash

  checks. He did not control those two (2) individuals’ actions; and he received the

  same percentage for cashing the checks that these two other individuals received.

          7.   The attorneys for the parties, after extensive discussions and plea

  negotiations, and being thoroughly familiar with all of the evidence in this case,
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  reached an agreement and entered and executed a plea agreement in this case in

  which neither of the above enhancements applied.

                            GUIDELINE CALCULATION

        If the Court grants the objections herein, Mr. Gonzalez’s adjusted offense

  level would be 21.

        WHEREFORE, for the reasons stated herein and for any other reasons that

  may arise during the sentencing hearing in this cause, Mr. Gonzalez respectfully

  requests that this Court grant his objections and clarifications.

                                          Respectfully submitted,

                                          BATISTA & BATISTA, P.A.
                                          Attorneys for the Defendant
                                          7171 Coral Way, Suite 400
                                          Miami, Florida 33155
                                          Telephone: (305) 267-5139
                                          Facsimile: (305) 267-4108
                                          E-mail: Jrebatistalaw@gmail.com

                                   By:     /s/ Jose’ R. E. Batista
                                          Jose' R.E. Batista, Esq.

                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing

  instrument was filed with the Clerk of Court using CM/ECF; on this 2nd day of

  April, 2020.

                                 /s/ Jose’ R. E. Batista
                                       COUNSEL
